Case 1:20-cv-02405-EGS Document 90-13 Filed 11/05/20 Page 1of9

 

 

PROCESSING OPERATIONS |
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Purpose: To provide an operational checklist to be used in performing a daily
minimal areas to check and is not limited to these areas within facility. Checkl
Political and Election Mail Operations Coordinator information for investigatin
Political and/or Election Mail. District:

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Operational Clean Sweep Search Checklist- Political and Elec

 

Title: CHerk — Ln Plank Phone #: U7-3

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g possible missing or delayed

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Check box
when checked

Section/Operation:

Defines the work area to be searched.

Comments:

Specifics: include ¢
container placard

topies of PMOD label and /or
Names of individuals contacted

 

Incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units APES + 1
LSPSS staging AICr

 

AO / Station dispatch drea

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Manual flats
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Case 1:20-cv-02405-EGS Document 90-13 Filed 11

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Purpose: To provide an operational checklist to be used in perfo a a daily mail search. This list includes the

Political and Election Mail Operations Coordinator information far investigating possible missin

or delayed

Political and/or Election Mail. District: Central ( A ‘Distyd ame: Ja ne Lr Co la

 

Title: Clerk - Tr Pla nt Phone #: 4“) 7-3

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Check box
when checked

Section/Operation:

Defines the work area to be searched.

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Comments:

Specifics: include
container placard,

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Names of individuals contacted

 

Incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units PPOs |
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AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

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MTE trailers

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Case 1:20-cv-02405-EGS Document 90-13 Filed 11/05/20 Page 3 of 9

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Political and Election Mail Operations Coordinator information for inves possible missing or delayed

Political and/or Election Mail. District: Cen hal PAB Name: Ja n e DIQ/ a

Title: Cer K Tn p lant Phone #: / 7-3%o — Vp -

Comments:

 

 

Check box | Section/Operation:

Specifics: include copies of PMOD lIabel and /or
when checked Defines the work area to be searched. ? ih presies oo /
container placard. Names of individuals contacted

 

Incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units APBS #1 + SPS
Staging aved

 

AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check) Nv / aA

 

MTE Plant Staging Area

 

 

 

 

 

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Site MTESC iN | fr
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BRM /Postage Due

 

 

 

 

 

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Case 1:20-cv-02405-EGS Document 90-13 Filed 11/05/20 Page 4 of 9

 

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Political and Election Mail Operations Coordinator information for investigating possible missing or delayed
Political and/or Election Mail. District: Centa { PA Name: . lay e DICé la,
Title: (| lerdc - Ih 0 lavt Phone #: T) 7-334 bo 169 p33
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Specifics: includ i PMOD label and
when checked Defines the work area to be searched. pecifics an a of . "0 el. and /or
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ATS | Forward mail Carts prtewtially compa
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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

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Check box
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Defines the work area to be searched.

Comments:

Specifics: include copies of PMOD label and /or
container placard.

Names of individuals contacted

 

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BMEU & BMEU Plant Staging

 

Opening units

 

AO / Station dispatch area

 

Outbound dock

 

| Outgoing Dispatch Area

 

Trailers in yard (Yard Check) Nv / A

 

 

 

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PARS Staging and Operations

 

Rewrap Operations

 

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BRM/Postage Due N } A

 

 

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the

minimal areas to check and is not limited to these areas within facility. Checklist
Political and Election Mail Operations Coordinator any for investigating
Political and/or Election Mail. District: Condes |

 

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Name: ry adhyn bt, Menkes”

Title: Mesest pour 9 Scoot Special: g lA — #: AD S46 -~ 202 F

 

 

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Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

 

Incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units

 

AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check) Nv / A

 

 

 

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E Plant Staging Area N | py
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PARS Staging and Operations

 

Rewrap Operations

 

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Case 1:20-cv-02405-EGS Document 90-13 Filed 11/05/20 Page 7 of 9
PROCESSING OPERATIONS
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UNITED STATES POSTAL SERVICE

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

Political and/or Election Mail. District: Cen | fA Name: “J¢ ane. DIClla_

Title: Clerle- Tn Playt Phone #: Tl = 396 LV 3

Comments:

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Specifics: include copies of PMOD label and /or
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Incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units RPAS +1
+ $P55 staging ATCAS
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Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

 

 

 

 

 

 

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PARS Staging and Operations « —+ ha_pr ef Ie
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Case 1:20-cv-02405-EGS Document 90-13 Filed 11/05/20 Page 8 of 9
PROCESSING OPERATIONS

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

Political and/or Election Mail. District: ental Name: Jane “DiCo la.

Title: Clerk In Plant Surpport_ Phone #: VIT- SF le ~ (o4 b3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:20-cv-02405-EGS Document 90-18 Filed 11/05/20 Page 9 of 9

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information ie investigating possible missing or delayed
Political and/or Election Mail. District: Cen +ra|

 

Title: CG ley kv

—Tn Plant Phone #:

Name: Jane DPCla_

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Check box
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Section/Operation:

Defines the work area to be searched.

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container placard. Names of individuals contacted

 

Incoming dock

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